
USCA1 Opinion

	










                                [NOT FOR PUBLICATION]


                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS

                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                                 ____________________

        No. 95-2182

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                    CAMILLE BELLE,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Edward F. Harrington, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________

                     Aldrich and Campbell, Senior Circuit Judges.
                                           _____________________

                                 ____________________


            Chris H. Mangos for appellant.
            _______________
            Camille Belle on supplemental brief pro se.
            _____________                       ___ __
            Geoffrey E.  Hobart, Assistant United  States Attorney, with  whom
            ___________________
        Donald K. Stern, United States Attorney, was on brief for appellee.
        _______________

                                 ____________________

                                   JANUARY 24, 1997
                                 ____________________



















                      ALDRICH, Senior Circuit Judge.   The record in this
                               ____________________

            case   calls  for  our  writing  something  of  a  primer  on

            acceptance-of-plea hearings.  First, the background.  Camille

            Belle  (Belle),  together  with  her husband  and  son,  were

            arrested  on a  criminal complaint  in February  1994.   By a

            superseding indictment  in June  1994 she was  charged, inter
                                                                    _____

            alia, with  various drug offenses, including  conspiracy from
            ____

            1987 to the date of arrest.  In January 1995 she retained new

            counsel,  and her (separate) trial  date was set  for May 22.

            On the morning of that day Belle told the court she wished to

            plead.  A plea agreement was drawn, and, after a hearing, her

            plea  to  six  of the  eight  counts  of  the indictment  was

            accepted.

                      On September 7, 1995 a Presentence Report (PSR) was

            released, with objections due by September 21.   On September

            19, supported by a one page affidavit of counsel, Belle moved

            for  leave  to  vacate  her   plea,  and  for  a   competency

            evaluation.   These  motions were  denied the  following day.

            Thereafter she filed  objections to  the PSR.   A  sentencing

            hearing was  held  on September  28.   After, in  a two  hour

            address,  Belle had informed the court of her views as to how

            the  agents  had  treated  her  during  the  "reverse  sting"

            operations that had led to  her indictment, she was sentenced

            to a minimum-mandatory term of ten years.  She appeals.





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                      Belle's primary complaint is  that her Rule 11 plea

            hearing was  inadequate.  Of present  relevance the following

            occurred (numerals ours).

                      THE COURT:      [1]   Are  you  presently  under  a
                                      doctor's care?

                      BELLE:          Yes, your Honor.

                      THE COURT:      [2]  What did she say?

                      THE CLERK:      Yes, your Honor.

                      THE COURT:      [3]  Does  the illness that  you're
                                      being   treated  for   affect  your
                                      ability to understand the nature of
                                      these proceedings?

                      BELLE:          No.

                      THE COURT:      [4]  Have you taken any medicine or
                                      pills or drugs today?

                      BELLE:          Yes, your Honor.

                      THE COURT:      [5]   Is the  ingestion  of any  of
                                      those items, medicines or  pills or
                                      drugs, does it affect  your ability
                                      to understand the  nature of  these
                                      proceedings?

                      BELLE:          No.

                      THE COURT:      [6]    Have  you  ever  been  under
                                      psychiatric care?

                      BELLE:          No, your Honor.

                      THE COURT:      [7]    Counsel,  do  you  know  any
                                      reason  why  the  Court should  not
                                      accept the plea of guilty?

                      MR. BALLIRO:    I do not, your Honor.

                      THE COURT:      [8]   Have you had  sufficient time
                                      to discuss this  matter fully  with
                                      your attorney?



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                      BELLE:          Yes.

                      THE COURT:      [9]   Are  you satisfied  with  his
                                      representation of you?

                      BELLE:          Yes.

            After this exchange, the court found that "the plea of guilty

            has been  knowledgeably offered with an  understanding of its

            possible consequences."

                      In United  States v.  Parra-Ibanez,  936 F.2d  588,
                         ______________     ____________

            594-95   (1st  Cir.   1991),  after   recognizing   that  the

            voluntariness  of the plea is  a core requirement  of Fed. R.

            Crim.  P. 11, we quoted  with approval from  United States v.
                                                         _____________

            Cole, 813 F.2d 43, 46 (3d Cir. 1987) that once the court "has
            ____

            been informed that the  defendant has recently ingested drugs

            or other  substances capable of impairing his ability to make

            a  knowing  and  intelligent  waiver  of  his  constitutional

            rights,"  this subject  must be  pursued.   We  repeated this

            admonishment in  Carey v. United  States, 50 F.2d  1097, 1099
                             _____    ______________

            (1st Cir.  1995).  Even without these  authorities this would

            seem manifest.

                      We  cannot understand how,  having been informed by

            the affirmative  answer to  question 4,  that Belle may  have

            just ingested  drugs,  the court  would  not have  asked  the

            obvious.  Her opinion, 5, and  that of her counsel, 7, to the

            effect that some, unidentified,  substance had not interfered

            with her mental abilities,  was, at best, secondary evidence.

            It  is not  to be  forgotten that  defendant and  counsel are


                                         -4-















            concerned parties who  want the plea  accepted.  Their  views

            are important, and  we certainly do not, at  least initially,

            (see post),  question the  good faith  or general  ability of
                 ____

            counsel,  but  the purpose  of a  plea  hearing is  to obtain

            impartial findings  upon available basic  facts.  We  are not

            persuaded by a discomforted  government's argument that these

            opinions  excused  the  court  "from  engaging  Belle  in  an

            extended colloquy  about her various ailments."   Rather, the

            court's inquiry was conspicuously deficient.

                      This  conclusion  may  not  of  itself  warrant the

            withdrawal of  the plea.  Apart  from the red flag  answer to

            question 4 the record as a whole  fully warranted the court's

            conclusion that the plea was voluntary.  Can we then conclude

            from  the  record as  a whole  that  this error  was harmless

            (e.g., the PSR)?  See Carey, 50 F.3d at 1099.  Here, however,
                              ___ _____

            we  run  into a  singular  situation.   According  to Belle's

            counsel, on May 22 when her plea  was accepted (and after his

            being with her for  some time), there  was no reason why  her

            plea should not  be accepted.   (Question 7).   According  to

            this same counsel,  by his September affidavit in  support of

            her motion to withdraw her plea, on May 22 she was "confused,

            disoriented and lacking in comprehension as to the effect  of

            her agreement to plead guilty."

                      While this affidavit may raise serious questions as

            to  counsel,  it  surely   weakens  the  reliability  of  his



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            statement to the court as to defendant's state of mind on May

            22.    This, together  with the  court's  failure to  ask the

            obvious question  after 4, prevents us  from determining that

            the Rule 11 error was harmless.

                      As  we did  in Parra-Ibanez,  936 F.2d  at 598,  we
                                     ____________

            remand to the district court for an evidentiary  hearing, its

            findings and recommendations  to be forwarded to the clerk of

            this court.    This hearing  should include  findings on  the

            companion matters sought to  be raised before us, ante.   Our
                                                              ____

            jurisdiction to continue.

































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